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Hon. Ona T. Wang
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VIA ECF
Hon. Ona T. Wang
Daniel Patrick Moynihan United States Courthouse
500 Pearl Street
New York, NY 10007-1312

             RE:          Authors Guild et al. v. OpenAI, Inc., et al., and Alter et al. v. OpenAI
                          Inc., et al., Nos. 1:23-cv-08292-SHS & 1:23-cv-10211-SHS

Dear Judge Wang:

Pursuant to Rule IV.a. of Your Honor’s Individual Practices, we submit this joint letter-motion to
seal on behalf of the Author Plaintiffs and the OpenAI Defendants (“OpenAI”) in the above-
captioned matter in connection with documents referenced in OpenAI’s contemporaneously filed
Opposition to Plaintiffs’ Motion to Compel.

The redactions in OpenAI’s opposition describe documents that OpenAI produced in discovery
and designated confidential or highly confidential under the operative Protective Order in this
case (ECF No. 148).

Plaintiffs’ Position on Sealing. Plaintiffs take no position on whether the redacted material
should remain under seal.

OpenAI’s Position on Sealing. For the same reasons stated in the parties’ October 24, 2024
Joint Letter-Motion to Seal Plaintiffs’ Motion to Compel and Related Exhibits (Dkt. No. 233)
and articulated in more detail in the Declaration of Michael Trinh filed in support thereof (Dkt.
No. 233-1), OpenAI respectfully requests the Court grant this motion for leave to file its letter
brief in opposition to Plaintiffs’ motion under seal. Limited portions of the opposition reference
or summarize the same confidential materials that are currently subject to the October 24, 2024
Motion to Seal (Dkt. No. 233), including exhibits designated as confidential under the operative
Protective Order.

Accordingly, in order to maintain the confidential nature of this information, OpenAI
respectfully requests the Court grant this motion to seal.

Sincerely,

MORRISON & FOERSTER LLP
/s/ John Lanham
John Lanham

KEKER, VAN NEST & PETERS LLP
/s/ Michelle Ybarra
Michelle Ybarra

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LATHAM & WATKINS LLP
/s/ Elana Nightingale Dawson
Elana Nightingale Dawson

SUSMAN GODFREY LLP
/s/ Rohit Nath
Rohit Nath

LIEFF CABRASER HEIMANN & BERNSTEINS LLP
/s/ Rachel Geman
Rachel Geman




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